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   5
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   6

   7

   8                       UNITED STATES BANKRUPTCY COURT
   9             SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION
  10                                             Case No. 3-22-01075-CL11
       In re
  11                                             Chapter 11
         BLUE WAVE ENTERPRISES, LLC,
  12                                             NOTICE OF MOTION AND MOTION BY DEBTOR
               Debtor/Debtor in Possession.      AND DEBTOR IN POSSESSION MOTION FOR
  13                                             ORDER AUTHORIZING:

  14                                           (1) SALE OF REAL PROPERTIES AT 550 HIGHWAY
                                               75 AND 624 7TH ST., IMPERIAL BEACH, CA 91932
  15                                           OUTSIDE THE ORDINARY COURSE OF BUSINESS
                                               PURSUANT TO SECTION 363(b) AND FREE AND
  16                                           CLEAR   OF    LIENS,   ENCUMBRANCES     AND
                                               INTERESTS PURSUANT TO SECTION 363(f);
  17
                                               (2) A DETERMINATION BUYER IS A GOOD FAITH
  18                                           PURCHASER PURSUANT TO SECTION 363(m);

  19                                           (3) APPROVAL OF OVERBID PROCEDURES;

  20                                           (4) AUTHORIZING DISBURSEMENT OF PROCEEDS;
                                               AND
  21
                                               (5) WAIVING THE 14-DAY STAY IMPOSED BY FRBP
  22                                           6004;

  23                                           MEMORANDUM OF POINTS AND AUTHORITIES

  24                                           Date:    December 12, 2022
                                               Time:    2:30 p.m.
  25                                           Ctrm:    318
                                                        325 W. F St.
  26                                                    San Diego, CA 92101-6991
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   1         TO THE HONORABLE COURT, THE SUBCHAPTER V TRUSTEE, THE

   2   UNITED STATES TRUSTEE AND ALL INTERESTED PARTIES:

   3         PLEASE TAKE NOTICE that Debtor and Debtor in Possession Blue Wave
   4   Enterprises, LLC (“Debtor”) in the above captioned case, respectfully moves this Court
   5   for an Order:
   6          1. Authorizing the sale of the real property located at 550 Highway 75, Imperial
   7              Beach, CA 91932 and 624 7th St., Imperial Beach, CA 91932 which includes
   8              three lots APN 625-140-08, 626-070-33 and 626-070-57 (the “Property”)
   9              outside the ordinary course of business and free and clear of liens,
  10              encumbrances and interests pursuant to 11 U.S.C. §§363(b) and (f)(3) &(5);
  11          2. Deeming buyer Amazing Blue Wave, LLC (“Buyer”) or any to be a good
  12              faith purchaser pursuant to 11 U.S.C. §363(m);
  13          3. Approving Overbid Procedures;
  14          4. Authorizing escrow to disburse sale proceeds to pay the liens, costs of sale,
  15              commissions, and property tax claims with the balance of the proceeds if any
  16              to be disbursed to the Debtor in Possession (“DIP”) account; and
  17          5. Waiving the 14-day stay imposed by FRBP 6004 (“the Motion”).
  18         Debtor seeks this Court’s order to authorize the above referenced sale of the
  19   Property which will benefit the estate by paying the majority of the encumbrances. The
  20   proposed sale of the Property is for the highest and best offer Debtor has received in the
  21   last several years and based on a proposed sale negotiated in good faith in an “arm’s
  22   length” transaction without any collusion by any party.
  23         On October 21, 2022, Amazing Blue Wave, LLC (“Buyer”) through its managing
  24   member Jeffrey Fleming, submitted its offer to purchase the Property for the amount of
  25   $4,950,000.00. This is memorialized by execution of a Vacant Land Purchase Agreement
  26   and Joint Escrow Instructions and related documents. On November 5, 2022 Debtor
  27   submitted a Counteroffer No. 1, Addendum No. 1 and Bankruptcy addendum No. 1 to
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   1   Counteroffer executed by both managers in response to Buyer’s Offer. The Buyer
   2   accepted these by signing all documents on November 7, 2022. Addendum No. 1 which
   3   included the second address and corrected the Assessors’ Parcel Number given adding
   4   correct numbers for all three lots. The Bankruptcy Addendum removed all contingencies.
   5   All documents have been signed by Buyer and Debtor as Seller. Collectively these
   6   documents are referred to as the Purchase Agreement and attached as Exhibit 1 herein.
   7          The Property has been marketed for several years prior to filing this case with no
   8   offers. This is the only offer Debtor has received and in Debtor’s business judgment it is
   9   currently the best option Debtor has. The overbid process will assure Debtor receives the
  10   highest and best offer possible. Thus, the sale is in the best interest of the estate.
  11          The Property, which includes three parcels of essentially vacant real estate in San
  12   Diego County, is Debtor’s only asset and with the sale will pay off commissions, closing
  13   costs, its secured loans, and property taxes. There is a large judgement lien which was
  14   recorded within the preference period and could be avoided through an adversary action.
  15   Debtor does not have funds to engage in litigation but will seek to have the Court order
  16   the sale free and clear of this lien pursuant to Bankruptcy Code Section 363(f)(3) & (5).
  17                                THE PURCHASE AGREEMENT
  18          The sale shall be pursuant to the terms contained in the attached fully executed
  19   Purchase Agreement effective November 7, 2022. Exhibit 1.
  20          Pursuant to Local Bankruptcy Rule 6004-1(c)(3), Debtor provides the following
  21   information:
  22          (A) The date, time and place of the hearing is December 12, 2022, at 2:30 p.m. in
  23   Courtroom 318 of the above-entitled Court located at 325 W. F St., San Diego, CA 9201-
  24   6991. Any Opposition to the Motion must be filed by November 25, 2022, and any Reply
  25   by Debtor by December 2, 2022.
  26          (B) The Property being sold has two addresses: 550 Highway 75, Imperial Beach,
  27   CA 91932 and 624 7th St., Imperial Beach, CA 91932 (the “Property”) which is
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   1   comprised of a 3 lots totaling 1.34 acres, mixed use development. The Legal Description
   2   for these lots is attached as Exhibit 2.
   3          (C) The Buyer is Amazing Blue Wave, LLC (“Buyer”).
   4          (D) The terms of the sale include, without limitation, the following:
   5              (1)   The purchase price of $4,950,000.00 for the Property which is inclusive
   6          of commissions and payable by initial deposit of $100,000.00, to be deposited in
   7          escrow within 24 hours after court approval of the sale, and the balance of the
   8          purchase price due before the closing date of escrow;
   9              (2)   Escrow for the sale of the Property shall close not later than 45 days
  10          after entry of the order approving the sale;
  11              (3)   The Property is being sold on an “as is” “where is” basis, without any
  12          representations or warranties, with no loan, appraisal or inspection contingencies;
  13              (4)   Buyer warrants its financial resources are as represented and sufficient to
  14          purchase the Property at the agreed price;
  15              (5)   The sale is free and clear of liens, encumbrances, and interests pursuant
  16          to 11 U.S.C. § 363(f)(3) & (5) as set forth herein;
  17              (6)     The sale is subject to overbids; Debtor shall seek to sell the Property
  18          subject to the followings Overbid Procedures:
  19                     (a) Overbid Amount and Purchase Agreement.
  20          Any person or entity desiring to submit an overbid for the purchase of the estate’s
  21   interest in the Property (“Overbidder”) shall advise Debtor’s bankruptcy counsel (contact
  22   information listed above) of his, her or its’ intent to bid on the Property and the amount of
  23   the overbid (the “Overbid”), which must be at least a total of $5,000,000,00 (i.e., the
  24   current sales price of the Property plus a $50,000 minimum overbid), cash or certified
  25   check payable to the Debtor, by no later than 5:00 pm (PST), on the business day that is
  26   at least two days prior to the hearing on the Motion (the “Overbid Deadline”). In its
  27   absolute sole discretion, the Debtor or its’ counsel shall have the right to accept an
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   1   Overbid at any time after the Overbid Deadline.
   2          The Overbidder must accept and agree to a sale that contains a purchase price of at
   3   least the minimum overbid and terms and conditions that are the same as, or not less
   4   favorable to the estate (in Debtor’s sole discretion) than, the terms stated in the Purchase
   5   Agreement between Debtor and the Buyer (Exhibit 1).
   6                    (b) Payment of Deposit and Evidence of Financial Ability to Perform.
   7          Any Overbidder shall submit to Debtor’s bankruptcy counsel: (a) a cashier’s
   8   checks made payable to “Blue Wave Enterprises, LLC”, in the amount of at least
   9   $50,000.00 to serve as a deposit towards the purchase price of the Property (the “Property
  10   deposit”); and (c) evidence that the Overbidder has the financial wherewithal to close the
  11   contemplated sale. The Deposit and evidence of financial wherewithal must be delivered
  12   so that these items are received by both Debtor’s counsel no later than the Overbid
  13   Deadline. In its’ sole and absolute discretion, Debtors or their counsel shall have the right
  14   to accept these items at any time after the Overbid Deadline.
  15          In the event of any Overbid, the initial deposit tendered by the Buyer shall be
  16   refunded as well as any other deposits by other potential overbidders upon close of
  17   escrow.
  18                    (c) Auction, Due Diligence, Consummation of Sale and Forfeiture of
  19                        Deposit.
  20          In the event the Debtor receives any Overbid, the bidder will be able to participate
  21   in an auction to be conducted at the hearing on the Motion as is necessary to increase
  22   their bid.
  23          Subject to Court approval, Debtor recommends that the first overbid be in the
  24   amount of $50,000.00. Debtor also recommends that thereafter overbids shall be made in
  25   minimal increments of $20,000.00 (subject to adjustment as appropriate) such that the
  26   next highest minimum overbid at any auction shall be an amount no less than
  27   $5,020,000.00. All due diligence is to be completed prior to the hearing on the Motion,
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   1   as the sale is an “as is” “where is” basis, with no warranties, representations, recourse or
   2   contingencies of any kind whatsoever.
   3          The Debtor will request authority to sell their estate’s interest in the Property to
   4   the bidder who, in the Debtor’s business judgment, makes the highest and best Overbid
   5   (the “Winning Bidder”). Debtor shall be authorized to sell their estate’s interest in the
   6   Property to the next highest and best Overbidder in the event the Winning Bidder fails to
   7   perform (“Backup Bidder”). Debtor reserves the right to reject any and all overbids that,
   8   in its’ or counsel’s business judgment, are insufficient.
   9          The Winning Bidder’s Deposit shall be applied towards the total and final
  10   purchase price. The Winning Bidder must pay the full amount of the successful overbid
  11   to escrow and close escrow within forty-five (45) days from the date of entry of the Order
  12   authorizing the sale, or as otherwise set forth in the applicable purchase agreement.
  13          To the extent the Winning Bidder is unable, unwilling or otherwise fails to
  14   consummate the Sale, that bidder’s entire Deposit shall become non-refundable and
  15   forfeited to the Debtor and, in the event of a Backup Bidder, Debtor shall be authorized to
  16   proceed with a sale to the Backup Bidder (at the Backup Bidder’s last bid at the auction).
  17          To the extent a bidder is not the winning Bidder, that bidder’s Deposit will be
  18   refunded by Debtor, except that Debtor shall not refund the Deposit of any Backup
  19   Bidder until the sale to the Winning Bidder closes.
  20                     (d) Agreement to terms and Overbid Procedures.
  21          Any bidder’s tender of a Deposit to Debtor shall serve as that bidder’s consent to,
  22   and agreement with, these proposed Overbid Procedures and the terms and conditions of
  23   the Sale as set forth in the applicable purchase agreement, and agreement not to object or
  24   seek to modify the Overbid Procedures in any manner. If there are no overbids the
  25   Purchase Price will be $4,950,000.00 as listed in Exhibit 1.
  26              (7) The sale is subject to Bankruptcy Court approval after providing notice to
  27   Debtor and their counsel, the United States Trustee, all creditors, and other parties in
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   1   interests as required by the Bankruptcy Code, Federal Rules of Bankruptcy Procedure,
   2   and the Local Bankruptcy Rules.
   3                 (8) The costs of sale include real estate commissions in the amount of 6% of
   4   the sales price of the Property to be divided with 3% to the Seller/Debtor’s Agent/Broker
   5   and 3% to the Buyer’s Agent/Broker.
   6                 (9) There are no remaining contingencies, except Bankruptcy Court approval.
   7          (E) The proposed sale is free and clear of liens and encumbrances beyond those
   8   covered by the sales price of the Property. All voluntary liens will be paid from the sale
   9   proceeds. Each creditor should make a demand into escrow for the current amount owed.
  10   However, there is a large judgment lien in the amount of $2,445,881.00. The Purchase
  11   Price is not sufficient to pay all of this claimed secured amount. However, the Abstract of
  12   Judgment in favor of Ed Fleming, no relation to Buyer’s managing member with the
  13   same last name, which created the lien recorded on February 16, 2022, is within the 90
  14   period before the Petition was filed on April 24, 2022, and the lien avoidable as a
  15   preference and could be treated as unsecured debt. Section 363(f)(5) is applicable and
  16   allows a sale free and clear of this lien as discussed further herein.
  17          (F) The sale is in the best interests of the estate and will at least pay off all valid
  18   liens provided for in this case, administrative costs, broker/agent commissions, and costs
  19   of sale, etc. There may be some residual for unsecured creditors but not be enough to pay
  20   all claims;
  21          (G)      Unless otherwise stated in the Order on this Motion, all surplus funds after
  22   paying the above cees and costs, shall be disbursed to Debtor’s DIP account to be
  23   disbursed in accordance with Debtor’s Plan of reorganization or any Court Order;
  24          (H) The exact tax consequences to the estate relative to the sale are presently
  25   unknown.
  26          PLEASE TAKE NOTICE that the Motion is made pursuant to 11 U.S.C.
  27   §§363(b),(e),(f) & (m), 365, FRBP 2002, 3020(a) and 6004, as well as Local Bankruptcy
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   1   Rule (“LBR”) 6004 and 9013.
   2          PLEASE TAKE FURTHER NOTICE that the Motion is based on the attached
   3   Memorandum of Points and Authorities and the Declarations of Susan L. Hackett, David
   4   Brienza and Michael R. Totaro, the supporting exhibits, the arguments of counsel and
   5   other admissible evidence properly brought before the Court at or before the hearing on
   6   this Motion. In addition, Debtor requests that the Court take judicial notice of all
   7   documents filed with the Court in this case.
   8          PLEASE TAKE FURTHER NOTICE that if you wish to object to the relief
   9   sought by the Motion you must file a written response no later than November 25, 2022.
  10   The failure to timely object may be deemed by the Court to constitute consent to the
  11   relief requested herein. If you do not have any objections to this Motion, you need not
  12   take any further action.
  13          WHEREFORE, Debtor respectfully requests that the Court enter the orders set
  14   forth herein.
  15   Dated: November 8, 2022                            Respectfully submitted,
  16                                                      Totaro & Shanahan
  17                                                      By /s/ Michael R. Totaro
                                                          Michael R. Totaro
  18                                                      Attorneys for Debtor/Debtor in
                                                          Possession
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   1                    MEMORANDUM OF POINTS AND AUTHORITIES
   2                       INTRODUCTION AND BACKGROUND
   3          A. Jurisdiction and Venue
   4          This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§157 and 1334.
   5   This proceeding is a core proceeding under 28 U.S.C. §157(b)(2). Venue of the case and
   6   Motion is proper in this district pursuant to 28 U.S.C. §1408. The statutory predicates for
   7   the relief sought are sections 105, 363(b), (f)(3) and (m) of the Bankruptcy Code
   8   and Federal Rules of Bankruptcy Procedure Rules 2002, 3020, 6004, 6006, and 9014.
   9          B. General Background
  10          Debtor is the owner of 3 parcels of real property in Imperial Beach, California
  11   known as 550 Highway 75, Imperial Beach, CA 91932 and 624 7th St., Imperial Beach,
  12   CA 91932 (collectively the “Property”). There are three APNs, 625-140-08, 626-070-33
  13   and 626-070-57. The three properties were refinanced into one loan but remain three
  14   individual properties. On April 24, 2022, Debtor filed this Chapter 11 Subchapter V case
  15   with the intention of either refinancing or selling all parcels. The full legal description is
  16   attached to the Declaration of David Brienza as Exhibit 2.
  17          The Property is encumbered by a first deed of trust in favor of Addison
  18   Technology, Inc., et al (“Movant”) herein asserted to be in the amount of $4,204,836.54.
  19   There is also a judgment lien in favor of Ed Fleming (“Fleming”) in the amount of
  20   $2,445,881.14 recorded on February 16, 2022, which Debtor believes is a preference by
  21   an insider since Fleming is a member of Debtor and clearly record within the 90-day
  22   preference period and could be avoided. Totaro Dec. ¶5.
  23          Debtor had purchased the Property for a specific development project in 2017 and
  24   2018 and has worked to obtain required governmental approvals and entitlements
  25   necessary for the development. Brienza Dec. ¶4.
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   1          C.   Value of the Property
   2          The Property had been on the market for several years prior to filing and did not
   3   receive any offers. Debtor questions the efforts to market the Property. In fact, after filing
   4   Debtor had to reject the existing listing agreement which was with one of its members as
   5   the agent before it could be listed by approved real estate agent and broker. The Court
   6   approved employment of real estate agent Susan L. Hackett and Rodeo Realty in Beverly
   7   Hills, as agent and broker with experience in selling properties in chapter 11 cases.
   8   Docket No. 63.
   9          The most recent appraisal provided by the lender in its Motion for Relief from
  10   Stay shows no change in value since the loan was made. Docket No. 56. This showed a
  11   Land Value of $4,125,000.00 and “As Is” with entitlements of $5,670.000.00. Although
  12   Debtor does not agree with these appraised amounts, the Property was listed at
  13   $6,000,000.00 not much higher than the “As Is” value with entitlements lender proposed.
  14   The purchase price to be approved in this Motion is $4,950,000.00, somewhere between
  15   the lender’s values. This was the only offer received knowing it was required to get the
  16   Property sold rather quickly in this case. Hackett, Dec. ¶12-13.
  17          The Property has been marketed for at least 3 years prior to filing this case with no
  18   real offers. Since the approval of Debtor’s agent/broker with extensive marketing, they
  19   only received three inquiries. Debtor’s managing member, real estate agent and
  20   bankruptcy counsel all believe this is the highest and best price Debtor was likely to
  21   obtain under the circumstances. Hackett Dec. ¶2 ; David Brienza Declaration. (“Brienza
  22   Dec.”), ¶¶14-15 and Declaration of Michael R. Totaro (“Totaro Dec.”), ¶3.
  23          The offer in this case was submitted by Amazing Blue Wave, LLC (“Buyer”) on
  24   October 21, 2022, as a Vacant Land Purchase Agreement and Joint Escrow Instructions
  25   to purchase the Property for $4,950,000.00. The initial offer contained only one of the
  26   property addresses and a single incorrect APN. On November 4, 2022, Debtor submitted
  27   Counteroffer No. 1, Addendum No. 1, correcting the description of the Property and
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   1   Bankruptcy Addendum No. 1 to Counter-Offer. These latter documents were signed by
   2   both of Debtor’s managers on November 5, 2022, and by Buyer on November 7, 2022.
   3   Each of these referenced documents comprise the Purchase Agreement which is attached
   4   as Exhibit 1. Hackett Dec., ¶¶13-15.
   5          The sale of the Property will be subject to overbids at the hearing on this matter
   6   which is set for December 12, 2022 at 2:30 pm before this Court. This should assure
   7   Debtor receives the highest and best price
   8          Debtor believes the purchase price of $4,950,000,00 reflects the market value of
   9   the Property. Indeed, the true value of a property is what a buyer is willing to pay in a
  10   negotiated sale. See BFP v. Resolution Trust Corporation, 511 U.S. 531, 538 (1994).
  11                                THE PROPOSED SALE
  12          A. Material Terms of the Purchase Agreement
  13          Debtor proposes to sell the Property to the Buyer in accordance with Bankruptcy
  14   Code §§363(b), (f) and (k). The Purchase Agreement as defined herein was fully
  15   executed on November 7, 2022. See Exhibit 1.
  16          1.   Purchase Price
  17          The sale involves a purchase price for the Property of $4,950,000.00. Exhibit 1,
  18          2.   Purchased Assets
  19          The physical address of the Property is 550 Highway 75, Imperial Beach, CA
  20   91932 and 624 7th St., Imperial Beach, CA 91932, There are three APN’s 625-140-08,
  21   626-070-33 and 626-070-57 (the “Property”). The Legal Descriptions of the Property are
  22   set forth in Exhibit 2. Brienza Dec., ¶¶2,17.
  23          3.   No liabilities will be assumed by the Buyer.
  24          The Buyer assumes no liabilities. The sale will be free and clear of liens pursuant
  25   to 11 U.S.C. §§ 363(f)(3) and (5).
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   1          4.    Deposit
   2          Buyer has agreed to make a deposit of $100,000.00 within 24 hours of the court entry of

   3   an order approving the sale. The balance of the sale price will be paid prior to the closing.

   4   Exhibit 1.

   5          5.    Closing
   6          The Purchase Agreement provides for the sale to close within 45 days after the
   7   entry of the Court Order approving the Sale. However, Debtor has been advised the sale
   8   will close by the end of this year. Totaro Dec., ¶4.
   9          6.    Representation, Warranties and Covenants
  10          The Buyer will accept the purchased assets at the closing “as is, where is” with no
  11   contingencies whatsoever. See Exhibit 1.
  12          B.    Overbid Procedures
  13          To assure Debtor receives the best price for the Property, the sale will be subject to
  14   the overbid procedures set forth herein. Essentially this provides for an initial overbid of
  15   $50,000 for an offer of $5,000,000 for the Property. If bidding proceeds further bids
  16   should be in increments of $20,000 unless the Court directs differently.
  17          The Motion is filed pursuant to LBR 6004(c). Debtor does not anticipate any
  18   objections as the Purchase Price which will pay all of the first liens, taxes, costs of sales,
  19   commissions, etc. Totaro Dec., ¶6.
  20                                    LEGAL ANALYSIS
  21                  A. THE PROPOSED SALE SHOULD BE APPROVED
                         UNDER   SECTION  363(b)  SINCE  IT  IS
  22                     SUPPORTED BY A SOUND BUSINESS PURPOSE
                         AND IS IN THE BEST INTERESTS OF THE
  23                     ESTATE.
  24          Pursuant to 11 U.S.C. §363(b), a Debtor may, with court approval, sell or lease
  25   property of the estate outside the ordinary course of business. The standards for approval
  26   of a sale pursuant to Section 363(b)(1) require the proponent of the sale to establish that:
  27   “(1) a sound business purpose exists for the sale; (2) the sale is in the best interests of the
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   1   estate, i.e., the sale price is fair and reasonable; (3) notice to creditors was proper; and (4)
   2   the sale is made in good faith.” In re Industrial Valley Refrig. & Air Cond. Supplies, Inc.,
   3   77 B.R. 15, 21 (Bank. E.D. Pa. 1987). A court has broad discretion to authorize a sale
   4   under 11 U.S.C. §363(h). See In re Walter, 83 B.R. 14, 19 (9th Cir. BAP 1988), see also
   5   In re WPRV-TV, 983 F.2d 336, 340 (1st Cir. 1993).
   6          The courts will find that a proposed sale is in the best interests of the estate where
   7   the Debtor has a valid “business justification” for the proposed sale. See Stephans Indus.
   8   Inc. v. McClung, 789 F.2d 386, 390; In re Baldwin United Corp., 43 B.R. 888, 905

   9   (Bankr.S.D. Ohio 1984). A debtor’s application of its sound business judgment in the use,

  10   sale or lease of the property is subject to great judicial deference. See In re Moore, 110

  11   B.R. 924 (Bankr.C.D. Cal. 1990); In re Walter, 83 B.R. at 19-20. The Court’s decision to
       authorize a sale under §363(b) is reviewed for abuse of discretion. Id.
  12
               There must be some articulated business justification for using, selling or
  13
               leasing the property outside the ordinary course of business . . . whether
  14           the proffered business justification is sufficient depends on the facts of the
               case. As the Second Circuit held in Lionel [722 F.2d 1063, 1071 (2nd Cir.
  15           1983)], the bankruptcy judge should consider all salient factors pertaining
  16           to the proceeding and, accordingly, act to further the diverse interests of
               the debtor, creditors and equity holders, . . . alike.
  17
              In re Walter, 83 B.R. at 19-20.
  18
              In interpreting Section 363(b)(1) courts have held that a transaction involving
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       property of the estate should be approved where the debtor can demonstrate “some
  20
       articulated business justification for using, selling, or leasing property outside of the
  21
       ordinary course of business.” In re Continental Airlines, Inc., 780 F.2d 1223, 1226 (5th
  22
       Cir. 1986); In re Walter, 83 B.R. at 19-21. The courts should consider various factors
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       including the consideration to be paid, the financial condition and needs of the debtor, the
  24
       qualifications of the buyer, and whether a risk exists that the assets proposed to be sold
  25
       would decline in value if left in the debtor’s possession. See Equity Funding Corp. Of
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       Am. v. Fin. Assocs. (In re Equity Corp.), 492 F.2d 793, 794 (9th Cir. 1974).
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   1          Here, the proposed sale is supported by a valid business justification. While
   2   Debtor owes more than the value of the Property, a large part of this is a judgment in
   3   favor of a member Debtor in the amount of $2,445,881.14. The Creditor recorded an
   4   abstract of judgment just 67 days prior to Debtor filing this case. This is within the
   5   preference period and the sale will be free and clear of all liens. Totaro Dec., ¶5. After all
   6   costs of sale, commissions, valid secured claims, priority claims there will be probably
   7   over $264,000.00 available to be paid to unsecured creditors pro rata. If there is an
   8   overbid the amount could increase depending on the amount. Totaro Dec., ¶ 6.
   9          It is the business judgment of the Debtor’s manager, and counsel after considering
  10   potential alternatives, the proposed sale is in the best interests of Debtor, the estate, and
  11   its’ creditors. Totaro Dec., ¶ 3, Brienza Dec., ¶¶ 14-15, Hackett Dec., ¶ 16.
  12                   B.     THE PROPOSED SALE SHOULD BE
                              APPROVED FREE AND CLEAR OF LIENS,
  13                          CLAIMS AND INTERESTS
  14          Debtor is seeking authority to sell the Property free and clear of all liens and
  15   encumbrances pursuant to 11 U.S.C. §363(f). Section 363(f) provides:
  16           The Debtor may sell property under subsection (b) or (c) of this section
               free and clear of any interest in such property of an entity other than the
  17           estate, only if -
  18           1. Applicable non-bankruptcy law permits sale of such property free and
               clear of such interests;
  19
               2.   Such entity consents;
  20
               3. Such interest is a lien and the price at which such property is to be
  21           sold is greater than the aggregate value of all liens on such property;
  22          4.    Such interest is a bona fide dispute; or
  23           5. Such entity could be compelled, in a legal or equitable proceeding, to
               accept money satisfaction of such interest.
  24

  25          Because subsections (1) through (5) of Bankruptcy Code §363(f) are written in the
  26   disjunctive, authority to sell the property free and clear of any and all liens, claims, and
  27   interests should be granted if any of the conditions are met with respect to each interest
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   1   holder. Citicorp Homeowners Servs., Inc. v. Elliot (In re Ellliot), 94 B.R. 343, 345 (E.D.
   2   Pa. 1988). In addition, any debt can be discharged by full payment of the underlying debt
   3   pursuant to Section 363 (f)(3). Scherer v. Federal National Mortgage Association (In re
   4   Terrace Chalet Apartments, Ltd.) 159 B.R. 821, 829 (Bankr. N.D. Ill 1993).
   5          In this case the first lienholder with a voluntary lien will be paid in full of the sale
   6   proceeds. The Property taxes will also be paid in full from the sale. Section 363(f)(3).
   7   The only other secured claim is that of Ed Fleming who has a recorded judgment lien
   8   which can be avoided as a preference. Totaro Dec., ¶ 5. Pursuant to Section 363 (f)(5) the
   9   sale can be free and clear of this lien because the creditor “could be compelled, in a legal
  10   or equitable proceeding, to accept money satisfaction of such interest.”
  11          The judgment lien is based on money being owed and because the security interest
  12   can be avoided as a priority the creditor could be compelled to accept money satisfaction.
  13   Therefore, this section should be applicable. In addition, the Property is not a Debtor’s
  14   principal residence, and as such Debtor could file a motion pursuant to 11 U.S.C. §506(b)
  15   to bifurcate and avoid this junior lien to the extent it is unsecured and would have to be
  16   paid pro rata with unsecured creditors. There will never be enough funds in the estate to
  17   pay all liens. Section 363(f) permits title to transfer free and clear of liens and
  18   encumbrances on the Property in this case.
  19          To the extent any other party who may assert an interest in the Property receives
  20   notice of the Motion and does not file a written objection hereto, such party should be
  21   deemed to have consented to the proposed sale of the Property free and clear of its
  22   asserted interest. In re Channel One Communications, Inc., 117 B.R. 493, 496 (Bankr.
  23   E.D. Mo. 1990). Debtor is hopeful that lienholders who clearly cannot be paid from this
  24   sale will consent to the sale without payment as there is no possibility of anyone buying
  25   the property with all these liens attached.
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   1          Given all the above, Debtor asserts that this Court should approve the sale of the
   2   Property free and clear of any and all liens, claims, and interests under Bankruptcy Code
   3   §§363(f) and (k).
   4                   C.     THE BUYER SHOULD BE DEEMED A GOOD
                              FAITH PURCHASER PURSUANT TO SECTION
   5                          363(m).
   6          11 U.S.C. §363(m) provides:
   7
                   The reversal or modification on appeal of an authorization under
   8               subsection (b) or (c) of this section of a sale or lease of property does
                   not affect the validity of a sale or lease under such authorization to an
   9
                   entity that purchased or leased such property in good faith, whether or
  10               not such entity knew of the pendency of the appeal, unless such
                   authorization and such sale or lease was stayed pending appeal.
  11

  12          The Bankruptcy Code does not specifically define good faith; however, the Ninth
  13   Circuit has said that a good faith buyer “is one who buys ‘in good faith’ and ‘for value.’”
  14   Ewell v. Diebert (In re Ewell) 958 F.2d 276, 281 (9th Cir. 1992). “Lack of good faith is
  15   [typically] shown by ‘fraud, collusion between the purchaser and other bidders or the
  16   Debtors, or an attempt to take grossly unfair advantage of other bidders.’” Id., quoting
  17   Community Thrift & Loan v. Suchy (In re Suchy), 786 F.2d 900, 902 (9th Cir. 1985).
  18               The requirement that a Buyer act in good faith . . . speaks to the
  19               integrity of his conduct in the course of the sale proceedings.
                   Typically, the misconduct that would destroy a Buyer’s good faith
  20               status at a judicial sale involves fraud, collusion between the Buyer
                   and other bidders or the trustee, or an attempt to take grossly unfair
  21
                   advantage of other bidders.
  22
       In re Abbotts Dairies of Pennsylvania, Inc., 788 F.2d 143, 147 (3rd Cir. 1986) (citations
  23
       omitted).
  24
              In this case, Buyer is purchasing the Property which is part of the bankruptcy
  25
       estate. Buyer has offered to pay a fair market price for the Property and the terms are fair
  26
       and equitable. The anticipated sale was negotiated at “arm’s length” between the
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       respective Buyer and Debtor. Buyer made the offer to purchase the Property for
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   1   $4,950,000.00 which is the first and best offer Debtor has received in over three years of
   2   marketing. Buyer has proposed to pay all cost of inspections, sale etc. except that Debtor
   3   is to pay 50% of the city and county transfer fees. There are no contingencies to the sale
   4   except for bankruptcy court approval and an overbid procedure with the sale to close
   5   within 45 days of court approval. Buyer does not know Debtor and there is no collusion
   6   with any party or any attempt to take unfair advantage of anyone in this sale offer.
   7   Brienza Dec., ¶ 18.
   8         Based on the foregoing, Debtor submits the Court may properly determine the
   9   Buyer and any potential overbidder to be a “good-faith purchaser” within the meaning of
  10   11 U.S.C. §363(m).
  11
                    D.       THE COURT SHOULD AUTHORIZE ESCROW
  12                         TO PAY THE EXISTING LIEN, OUTSTANDING
                             PROPERTY TAXES, COSTS OF SALE AND
  13                         REAL      ESTATE      AGENTS-BROKERS
                             COMMISSIONS     PER   THE   PURCHASE
  14                         AGREEMENT AND DISBURSE THE BALANCE
                             OF FUNDS TO THE SUBCHAPTER V
  15                         TRUSTEE MARK SHARF TO HOLD IN TRUST
                             FOR THE ESTATE.
  16

  17         The Purchase Agreement provides for real estate commissions to the
  18   agents/brokers in the total amount of 6% of the purchase price. The commissions are to
  19   be split between the agents/brokers for Debtor/Seller and the agents/brokers for the
  20   Buyers. Hackett Dec., ¶ 4. The Court should authorize payment of the full commissions
  21   out of escrow. As noted there are no closing costs being paid by Debtor as the Buyer has
  22   agreed to pay all such costs and fees. Exhibit 1. The only items to be paid at closing
  23   consist of the claims of the first lienholder, property taxes, and commissions, priority
  24   claims for US Trustee fees, legal fees, and California taxes. The balance should be paid
  25   by escrow to the debtor in Possession account to be held pending a confirmed plan or
  26   court order as to disbursement.
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   1           The following is a list of payments and approximate amounts where applicable
   2   Debtor is requesting the Court approve to be paid from the sale proceeds:
   3   Payee                           Basis for claim                Amount
   4   Addison Technology, et al       1st lien                          4,204,835.54
   5   San Diego County                Claim 3-2 Property taxes            106,014.18
   6   Rodeo Realty                    Seller’s Commission                 148,500.00
   7   Derrick Biron Paine III         Buyer’s Commission                  148,500.00
   8   Escrow                          Seller’ Costs of Sale            Minimal unknown
   9   US Trustee                      US Trustee Quarterly Fees            40,000.00
  10   Priority admin claims           Subchapter V Trustee                  2,775.00
  11   Priority admin claims           Debtor’s Attorney’s Fees             35,000.00 estimated
  12    Total Estimated Paid                                            $4,685,624.72
  13    Total Estimated Balance                                            264.375.28
  14

  15           The foregoing shows that the sale will provide a benefit to the estate. Totaro Dec.,

  16   ¶ 6, Brienza Dec., ¶¶ 14-15.

  17           Pursuant to FRBP 3020(a) Debtor requests the Court order the balance of the sale

  18   proceeds be deposited Debtor’s DIP account to hold for purposes of distribution as

  19   further required by the Court and/or under the Chapter 11 Plan in this case.

  20                     F. WAIVER OF THE 14-DAY STAY IS REQUESTED.
  21           In order to complete the sale in this case, and to not miss the opportunity presented

  22   by the sale to Debtor, the estate and its creditors, Debtor respectfully requests that the

  23   order on this Motion be effective immediately, notwithstanding the 14-day stay imposed

  24   by FRBP 6004(h). Under this Rule, the Court has the discretion to waive the stay which

  25   is appropriate in this case. This is very important as the Buyer is ready to close as soon as

  26   possible to benefit from her guaranteed interest rate which is about to expire. In addition,

  27   waiver of Bankruptcy Rule 6004(h) will permit the sale to close as soon as possible and

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   1   prevent added interest from accruing. Therefore, it is especially important that the Sale
   2   Order be entered promptly and that FRBP 6004(h) is waived to permit a prompt closing.
   3
                                               CONCLUSION
   4
              Based on the foregoing, Debtor respectfully requests the Court enter an Order after
   5
       a hearing stating:
   6
              1.      The Motion is granted;
   7
              2.      The Sale of the Property is supported by a sound business justification and
   8
       in the best interests of the estate;
   9
              3.      Debtor is authorized to sell the Property outside the ordinary course of
  10
       business pursuant to Section 363 (b) on the terms set forth herein;
  11
              4.      Buyer is deemed a good faith purchaser, entitled to the protections as
  12
       provided in Section 363(m);
  13
              5.      The Sale shall be free and clear of the existing liens pursuant to Section
  14
       363(f)(3) & (5):
  15
              6.      Escrow is authorized to pay the distributions as set forth herein;
  16
              7.      Escrow is directed to disburse the remaining balance of the sale proceeds to
  17
       Debtor’s Debtor in Possession account to be paid according to a Plan of Reorganization
  18
       or Court Order.
  19
              8.      The 14-day stay as to the effectiveness of the order shall be waived and the
  20
       parties authorized to close escrow as soon as the order is entered;
  21
              9.      Such other and further relief as the Court deems just and proper.
  22
       Dated: November 8, 2022                              Totaro & Shanahan
  23

  24                                                        By: /s/ Michael R. Totaro
                                                               Michael R. Totaro
  25                                                           Attorneys for Debtor and
                                                               Debtor in Possession
  26

  27

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                                                       19
